Case 1:25-cv-00168-GBW             Document 70   Filed 03/10/25     Page 1 of 2 PageID #: 772




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

SPIRE GLOBAL, INC.,                              )
                                                 )
                      Plaintiff,
                                                 )
       v.                                        )   C.A. No. 25-CV-168-GBW
KPLER HOLDING SA,                                )
                                                 )
Defendant.                                       )

                                      NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on March 10, 2025, a true and correct copy of Plaintiff Spire

Global, Inc.’s Rule 26(a)(1) Initial Disclosure Statement was served on the following counsel via

electronic mail:

 Graham W. Meli                                  Steven J. Fineman (#4025)
 Kevin S. Schwartz                               Rudolf Koch (#4947)
 Adebola O. M. Olofin                            Jason J. Rawnsley (#5379)
 Joseph S. Tobin                                 Matthew D. Perri (#6066)
 Todd S. Gilman                                  Kyle H. Lachmund (#6842)
 WACHTELL, LIPTON, ROSEN & KATZ                  RICHARDS, LAYTON & FINGER, P.A.
 51 West 52 Street                               920 North King Street
 New York, NY 10019                              Wilmington, Delaware 19801
 (212) 403-1000                                  (302) 651-7700
 gwmeli@wlrk.com                                 fineman@rlf.com
 kschwartz@wlrk.com                              koch@rlf.com
 aomolofin@wlrk.com                              rawnsley@rlf.com
 jstobin@wlrk.com                                perri@rlf.com
 tsgilman@wlrk.com                               lachmund@rlf.com

 Sarah Lightdale
 Philip Bowman
 Kaitland Kennelly
 COOLEY LLP
 55 Hudson Yards
 New York, New York 10001
 (212) 479-6000
 slightdale@cooley.com
 pbowman@cooley.com
 kkennelly@cooley.com
Case 1:25-cv-00168-GBW   Document 70    Filed 03/10/25      Page 2 of 2 PageID #: 773




                                       FAEGRE DRINKER
                                       BIDDLE & REATH LLP
 OF COUNSEL:
                                        /s/ Angela Lam
 SIMPSON THACHER &                     Oderah C. Nwaeze (#5697)
 BARTLETT LLP                          Angela Lam (#6431)
 Jonathan K. Youngwood                 222 Delaware Avenue, Suite 1410
 Meredith Karp                         Wilmington, DE 19801
 Jacob Lundqvist                       (302) 467-4200
 Nora C. Hood                          oderah.nwaeze@faegredrinker.com
 425 Lexington Avenue                  angela.lam@faegredrinker.com
 New York, NY 10017
 (212) 455-2000                        Attorneys for Plaintiff

Dated: March 10, 2025
